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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


 UNITED STATES OF AMERICA,                             CR 15–17–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 ISMAEL MELIN,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 27, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Ismael Melin’s guilty plea

after Melin appeared before him pursuant to Federal Rule of Criminal Procedure


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11, and entered a plea of guilty to one count of possession with intent to distribute

methamphetamine in violation of 21 U.S.C. § 841(a)(1) (Count II), as set forth in

the Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Count I of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

40), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Ismael Melin’s motion to change plea

(Doc. 23) is GRANTED and Ismael Melin is adjudged guilty as charged in Count

II of the Indictment.

      DATED this 22nd day of June, 2015.




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